                                                                         FILED
                                                                     Aug 26 2024, 9:09 am

                                                                         CLERK
                                                                     Indiana Supreme Court
                                                                        Court of Appeals
                                                                          and Tax Court




                                            IN THE

            Court of Appeals of Indiana
                                         Kenneth Ratliff,
                                        Appellant-Defendant

                                                    v.

                                         State of Indiana,
                                           Appellee-Plaintiff


                                           August 26, 2024
                                    Court of Appeals Case No.
                                           24A-CR-107
                             Appeal from the Porter Superior Court
                           The Honorable Jeffrey W. Clymer, Judge
                                       Trial Court Cause No.
                                       64D02-2104-F2-3540


                                  Opinion by Judge Mathias
                                Judges Riley and Felix concur.




Court of Appeals of Indiana | Opinion 24A-CR-107 | August 26, 2024                   Page 1 of 18
      Mathias, Judge.


[1]   Kenneth Ratliff appeals his convictions for Level 3 felony burglary, Level 3

      felony rape, and Class A misdemeanor battery. He also appeals his sentence.

      Ratliff raises three issues for our review, which we restate as follows:


              1. Whether the trial court clearly erred when it concluded that
              the prosecutor did not intentionally “goad” Ratliff into moving
              for a mistrial.


              2. Whether Ratliff’s conviction for Class A misdemeanor battery
              is contrary to Indiana’s protection against substantive double
              jeopardy.


              3. Whether Ratliff’s sentence is inappropriate in light of the
              nature of the offenses and his character.


[2]   We affirm in part, reverse in part, and remand with instructions for the trial

      court to vacate Ratliff’s conviction and sentence for Class A misdemeanor

      battery.


      Facts and Procedural History
[3]   In the spring of 2020, J.B. met Ratliff through a mutual friend. Ratliff stopped

      by J.B.’s apartment in Valparaiso a couple of times per month to give the

      mutual friend a ride. Ratliff visited J.B.’s apartment about five times.


[4]   In the early morning hours of April 15, 2021, J.B. woke to the sound of loud

      banging on her front door. J.B. went downstairs, looked out a window next to



      Court of Appeals of Indiana | Opinion 24A-CR-107 | August 26, 2024         Page 2 of 18
      the front door, and yelled, “Who’s out there?” Tr. Vol. 5, p. 169. Ratliff

      responded, “Ken.” Id. J.B. recognized Ratliff’s voice.


[5]   J.B. told Ratliff “to leave and go home.” Id. at 170. Ratliff then punched

      through the window where J.B. was standing, reached inside her apartment,

      and unlocked the front door. He cut his forearm in the process. J.B. was

      screaming, and Ratliff told her to “Shut up.” Id. at 171. He then grabbed her

      and forced her back up the stairs to her bedroom. While doing so, he was

      hitting J.B.’s head and face.


[6]   In her bedroom, Ratliff “pushed” J.B. down onto her bed and removed her

      pants and underwear. Id. at 172. Ratliff pulled his pants down, and then he

      raped her. About an hour later, he fell asleep. Once Ratliff was asleep, J.B.

      escaped from her bedroom, grabbed her phone, and hid inside a closet. From

      inside the closet, she called police.


[7]   Valparaiso Police Department Officers Peter Castillo and Matthew Zavacki

      were the first to respond to the scene. J.B. met them near her front door, where

      they observed the broken window along with glass on the ground. The officers

      also observed drops of blood going up the stairs. And, in J.B.’s bedroom, they

      caught Ratliff with his pants down while he was still asleep in the bed. Officer

      Castillo also noticed that Ratliff had a fresh wound on his right arm that was

      bleeding. The officers arrested Ratliff.




      Court of Appeals of Indiana | Opinion 24A-CR-107 | August 26, 2024       Page 3 of 18
[8]   J.B. was transported to a nearby hospital and examined. She had injuries to her

      face and head as well as to her genitals. A DNA analysis identified Ratliff’s

      DNA in samples taken from, on, and in J.B.’s body.


[9]   The State charged Ratliff in relevant part with Level 3 felony burglary, Level 3

      felony rape, and Class A misdemeanor battery. Specifically, the last-amended

      information stated as follows:

              Count I
              Burglary (Level 3 Felony)
              I.C. 35-43-2-1(2)


              . . . Kenneth Ratliff . . . on or about April 15, 2021, did break and
              enter the building or structure of Victim #1 . . . with intent to
              commit a felony of in [sic] it and resulted in bodily injury to
              Victim #1 . . . .


              Count II
              Rape (Level 3 felony)
              I.C. 35-42-4-1(a)(1)


              . . . Kenneth Ratliff . . . on or about April 15, 2021, did
              knowingly or intentionally have sexual intercourse with Victim
              #1 . . . when Victim #1 was compelled by force or imminent
              threat of force . . . .


                                                   ***


              Count IV
              Battery (A Misdemeanor)
              I.C. 35-42-2-1(d)(1)


      Court of Appeals of Indiana | Opinion 24A-CR-107 | August 26, 2024          Page 4 of 18
               . . . Kenneth Ratliff . . . on or about April 15, 2021, did
               knowingly or intentionally touch Victim #1 in a rude, insolent,
               or angry manner and resulted in bodily injury to Victim #1 . . . .


       Appellant’s App. Vol. 2, pp. 77-78 (bold, underlining, and capitalization

       removed).


[10]   In September 2023, the State filed two notices of intent to introduce evidence

       under Indiana Evidence Rules 404(b) and 412(c) regarding a prior alleged rape

       of J.B. by Ratliff in August 2020. Ratliff also filed a notice of intent to introduce

       that same evidence under Rule 412(c). The trial court held a hearing on the

       admissibility of any such evidence, after which the court ordered as follows:


               Prior [s]exual conduct with the Defendant, including the
               previous alleged Rape[:] the State argues that the alleged conduct
               is admissible under Indiana Rule of Evidence 404(b) [as] lack of
               mistake, etc. The Defendant argues it is admissible for
               impeachment under [Rule] 608. The Court finds that the
               Defendant may not introduce the evidence to impeach unless the
               State first introduces testimony. (Opens the door[.]) The
               Defendant did not argue . . . that he seeks to introduce the
               evidence . . . to prove consent. The evidence of alleged sexual
               conduct only with the Defendant may be introduced by the State
               under [Rule] 412(b)(1)(B).


       Id. at 88.


[11]   Thereafter, Ratliff’s jury trial began. In his opening statement, the prosecutor

       outlined the expected witness testimony. In doing so, the prosecutor stated that,

       in speaking with a detective about the April 15, 2021, events, J.B. told the

       detective “of another scenario where Ken had raped her.” Tr. Vol. 3, p. 64.
       Court of Appeals of Indiana | Opinion 24A-CR-107 | August 26, 2024           Page 5 of 18
       Ratliff objected and moved for a mistrial on the ground that that “statement is

       very, very damning, Judge.” Id. The prosecutor responded: “My understanding

       of your ruling was that . . . [,] if the State chooses to put that into evidence, that

       it’s admissible.” Id. The trial court overruled Ratliff’s objection and request for a

       mistrial, stating “the State may introduce that evidence.” Id. The prosecutor

       then told the jury: “You’ll hear about this earlier report that [J.B.] made that the

       same Ken was in her apartment and raped her in August 2020,” but, because

       “Ken’s last name was unknown at that time . . . and [J.B.] did not wish to

       pursue charges due to fear of retaliation[,] . . . that case was dropped.” Id. at 65.

       The prosecutor concluded his opening statement by stating that the instant

       charges would be “about an allegation in April of 2021 and an allegation in

       August of 2020.” Id. at 66.


[12]   The next morning, the trial court opened the proceedings by informing counsel

       that the court had reviewed the transcript of the prosecutor’s opening statement.

       The court asked the prosecutor: “Aren’t you . . . trying to argue [to] find him

       guilty this time because he wasn’t found guilty last time he raped her?” Tr. Vol.

       4, p. 3. The prosecutor responded that he was “not arguing that” and that,

       when J.B. testifies, in her “mind[] this [August 2020 incident] was a rape,” and

       “she may use . . . that word.” Id. The prosecutor added: “we had hearings

       on . . . 404([b]) and I was given permission by this Court to use that [evidence].

       If the Court would have ruled otherwise, [I] wouldn’t [have] presented [it to

       the] jury.” Id. at 6. Ratliff renewed his motion for a mistrial, which the court

       then granted. In doing so, the court stated: “I don’t find that the State did

       Court of Appeals of Indiana | Opinion 24A-CR-107 | August 26, 2024           Page 6 of 18
       anything intentional” in putting the court in the position of having to declare

       the mistrial. Id. at 8.


[13]   Prior to the commencement of his second trial, Ratliff moved to dismiss the

       charges on double-jeopardy grounds. The court held a hearing on that motion

       and reaffirmed its prior finding that the prosecutor’s opening statements were

       not intended “to goad the defendant into moving for a mistrial.” Id. at 36.

       Instead, the court faulted itself for the circumstances, noting that “I . . . should

       have been clearer in my [pretrial evidentiary] rulings on prior sexual conduct, if

       any, between the defendant and the alleged victim,” and that what the

       prosecutor “actually did isn’t entirely inconsistent with what the order says.” Id.

       at 39-40. Ratliff renewed his motion to dismiss at the commencement of his

       second trial, which the court denied.


[14]   At Ratliff’s second trial, J.B., responding and investigating officers, and medical

       experts testified for the State. After the parties had presented their evidence, the

       prosecutor explained how the evidence fit the charges as follows:

               We’re going to start with Count I. . . . The defendant knowingly
               or intentionally broke and entered the building or structure of
               [J.B.] with the intent to commit a felony and the offense resulted
               in bodily injury to [J.B.] . . . .


                                                    ***


               [T]hat the offense resulted in bodily injury. We saw pictures of
               [J.B.]. We saw pictures from a few days later, bruising on her



       Court of Appeals of Indiana | Opinion 24A-CR-107 | August 26, 2024           Page 7 of 18
               face. We heard [J.B.’s] testimony, fractured nose. We saw the
               photos [from the hospital], the blood on her nose . . . .


               Let’s go to rape. Count II, the felony that was committed inside
               of [J.B.’s] apartment. The defendant . . . knowingly or
               intentionally had sexual intercourse with [J.B.] when [s]he was
               compelled by force or imminent threat of force. So what does
               that mean? Force or imminent threat of force? The punching on
               the stairs. [J.B.] screaming. The defendant saying shut up,
               beating her until she shut up. [J.B.] why did[n’t] you get up and
               run away? Why didn’t you get out? “I was scared he was going to
               beat me again.” That’s imminent threat of force.


               . . . I’m arguing to you, there was force by the beating, clear by
               the injuries [J.B.] sustained, and there was also imminent threat
               of force. . . .


                                                    ***


               Count IV, battery. The defendant knowingly or intentionally
               touched [J.B.] . . . in a rude, insolent, or angry manner which
               resulted in bodily injury to [J.B.] . . . . We heard [J.B.’s]
               testimony of what happened on the stairs. . . . Bodily injury,
               what does that mean? Pain. [J.B.] said she had pain. She was in
               shock. She was numb . . . while this was occurring but she had
               pain. You saw the blood under her nose, the bruises days later.
               [J.B.’s] testimony of a fractured nose. That’s injury.


       Tr. Vol. 5, pp. 246-49.


[15]   Thereafter, the jury found Ratliff guilty of Level 3 felony burglary, Level 3

       felony rape, and Class A misdemeanor battery, and the court entered its



       Court of Appeals of Indiana | Opinion 24A-CR-107 | August 26, 2024           Page 8 of 18
       judgment of conviction on those counts accordingly. After a sentencing hearing,

       the court found as follows:

               I did consider his criminal history and I did consider the fact that
               while he was on pretrial supervision from this court, he picked up
               a number of other charges, two domestic battery charges with
               two separate victims. So in terms of violence towards others, the
               jury found that Mr. Ratliff battered the victim in this case and
               he’s charged—and Mr. Ratliff is presumed innocent unless and
               until he’s proven guilty—but he’s charged in two other cases in
               this court . . . . So I find as aggravators his prior criminal history
               and his subsequent criminal history while on pretrial release from
               this court as aggravators.


               As mitigators, I find none.


       Tr. Vol. 6, p. 68. The court then sentenced Ratliff to an aggregate term of

       twenty-eight years with three years suspended to probation. This appeal ensued.


       1. The trial court did not violate Ratliff’s double-jeopardy
       rights by holding a second trial after the mistrial.
[16]   On appeal, Ratliff first asserts that the trial court violated his federal and state

       rights to be free from double jeopardy when the court held a second trial on the

       State’s allegations after the court had granted Ratliff’s motion for a mistrial in

       the first trial. Our Supreme Court has explained the law underlying Ratliff’s

       double-jeopardy argument as follows:


               The Fifth Amendment provides that no person shall “be subject
               for the same offense to be twice put in jeopardy of life or limb.”
               U.S. Const. amend. V. Although a defendant’s motion for a
               mistrial constitutes “a deliberate election on his part to forgo his
       Court of Appeals of Indiana | Opinion 24A-CR-107 | August 26, 2024             Page 9 of 18
               valued right to have his guilt or innocence determined before the
               first trier of fact,” United States v. Scott, 437 U.S. 82, 93, 98 S. Ct.
               2187, 57 L. Ed. 2d 65 (1978), the United States Supreme Court
               has provided a narrow exception that bars a second trial after a
               mistrial “where the governmental conduct in question is intended
               to ‘goad’ the defendant into moving for a mistrial.” Oregon v.
               Kennedy, 456 U.S. 667, 676, 102 S. Ct. 2083, 72 L. Ed. 2d 416               (1982). The subjective intent of the prosecutor is the dispositive
               issue. Wilson v. State, 697 N.E.2d 466, 472 (Ind. 1998). Although
               a trial court’s determination of prosecutorial intent is not
               conclusive for purposes of appellate review, its determination is
               “very persuasive.” Id. at 473. “It is a factual determination that
               we review under a clearly erroneous standard.” Butler v. State, 724
               N.E.2d 600, 604 (Ind. 2000).


       Farris v. State, 753 N.E.2d 641, 645-46 (Ind. 2001). 1


[17]   Thus, the critical inquiry in determining whether a second trial is prohibited

       after the trial court has entered a mistrial on a defendant’s motion is “whether

       the prosecutor brought about the mistrial with the intent to cause termination of

       the trial. If the State acted with intent to force the defendant into moving for a

       mistrial, the prohibition against double jeopardy bars a second prosecution.”

       Wilson, 697 N.E.2d at 472 (quotation marks omitted). The Supreme Court of

       the United States has made the rationale for that rule clear: “where a

       defendant’s mistrial motion is necessitated by judicial or prosecutorial

       impropriety designed to avoid an acquittal, reprosecution might well be barred.”




       1
        The constitutional right to be free from double jeopardy where a prosecutor “goads” the defendant into
       moving for a mistrial is also codified in Indiana. See Ind. Code § 35-41-4-3(b) (2020).

       Court of Appeals of Indiana | Opinion 24A-CR-107 | August 26, 2024                            Page 10 of 18
       Kennedy, 456 U.S. at 678-79 (quoting United States v. Jorn, 400 U.S. 470, 485

       n.12 (1971) (plurality opinion)) (emphasis added).

[18]   Ratliff argues that the prosecutor’s opening statements that Ratliff “had raped”

       J.B. on a prior, uncharged occasion and that the instant charges were “about”

       both the April 15, 2021, incident and prior incident were such flagrant

       violations of the law that the prosecutor must have intended to goad Ratliff into

       moving for the mistrial. See Tr. Vol. 3, pp. 64, 66. The prosecutor’s statements

       certainly justified the entry of the mistrial. But the prosecutor also made the

       statements in his opening statement. The rule that prohibits retrial where the

       defendant had asked for a mistrial seeks to avoid gamesmanship by prosecutors

       who have concluded that the first trial is likely to result in an acquittal. See

       Kennedy, 456 U.S. at 678-79. It is difficult to imagine how that rule can be

       applied to a prosecutor’s opening statement.


[19]   Further, the trial court’s finding that the prosecutor did not act with an intent to

       cause the termination of the first trial is supported by the record. Again, the

       statements were made during the prosecutor’s opening statement, which

       suggests that his inappropriate comments were not intended to cause a mistrial.

       Further, the prosecutor made clear to the court that he thought he was acting in

       accordance with the court’s pretrial evidentiary ruling regarding the prior

       incident. The trial court credited the prosecutor’s explanation and agreed that

       its pretrial order was unclear. We therefore cannot say that the trial court’s

       finding that the prosecutor did not have the intent to cause the mistrial is clearly



       Court of Appeals of Indiana | Opinion 24A-CR-107 | August 26, 2024         Page 11 of 18
       erroneous. The trial court did not violate Ratliff’s double-jeopardy rights when

       it held his second trial.


       2. Ratliff’s conviction for Class A misdemeanor battery is
       contrary to Indiana’s protection against substantive double
       jeopardy.
[20]   Ratliff also argues that the trial court violated his substantive double-jeopardy

       rights when it entered judgment of conviction on either the Level 3 felony

       burglary or the Level 3 felony rape and also the Class A misdemeanor battery.

       We review such questions de novo. A.W. v. State, 229 N.E.3d 1060, 1064 (Ind.

       2024). We limit our review of Ratliff’s argument to his convictions for Level 3

       felony rape and Class A misdemeanor battery.

[21]   Indiana’s protection against substantive double jeopardy prohibits “multiple

       convictions for the same offense in a single proceeding.” Id. at 1066. To

       determine if a substantive double-jeopardy violation has occurred, we apply a

       “three-part test based on statutory sources . . . .” Id. The first step is to look to

       the statutory language of the offenses at issue; if that language “clearly permits

       multiple punishments,” then “there is no violation of substantive double

       jeopardy.” Id. (quotation marks omitted). Here, Ratliff and the State agree that

       the first step is not dispositive, and so we proceed to the second step.


[22]   Under the second step, as clarified by our Supreme Court in A.W., we look to

       the face of the charging information to discern if the factual bases identified for




       Court of Appeals of Indiana | Opinion 24A-CR-107 | August 26, 2024           Page 12 of 18
       the charges implicate our statutory definitions of an “included offense.” Id. In

       particular, the Indiana Code defines an included offense as an offense that:

               (1) is established by proof of the same material elements or less
               than all the material elements required to establish the
               commission of the offense charged;


               (2) consists of an attempt to commit the offense charged or an
               offense otherwise included therein; or


               (3) differs from the offense charged only in the respect that a less
               serious harm or risk of harm to the same person, property, or
               public interest, or a lesser kind of culpability, is required to
               establish its commission.


       I.C. § 35-31.5-2-168. As our Supreme Court further clarified, an offense is an

       included offense under that statute where the charging information states that

       the “means used” to commit the alleged greater offense “include all of the

       elements of the alleged lesser included offense.” A.W., 229 N.E.3d at 1067

       (quotation marks omitted).


[23]   Here, aside from names and dates, the face of the charging information for the

       Level 3 felony rape and Class A misdemeanor battery allegations simply tracks

       the statutory language of the offenses. Appellant’s App. Vol. 2, pp. 77-78; see

       also I.C. §§ 35-42-2-1(d)(1), 35-42-4-1(a)(1) (2020). Thus, the Class A

       misdemeanor battery allegation stated that Ratliff had knowingly or

       intentionally “touche[d] [J.B.] in a rude, insolent, or angry manner,” while the

       Level 3 felony rape allegation stated that Ratliff had knowingly or intentionally


       Court of Appeals of Indiana | Opinion 24A-CR-107 | August 26, 2024          Page 13 of 18
       had sexual intercourse with J.B. when she was “compelled by force or

       imminent threat of force.” Appellant’s App. Vol. 2, pp. 77-78; see also I.C. §§ 35-

       42-2-1(d)(1), 35-42-4-1(a)(1) (2020).


[24]   That language alone does not demonstrate that the two offenses were separate

       offenses. The means used to commit the greater offense could have included all

       of the elements of the alleged lesser offense based on the face of the

       information. For example, the means used to show that J.B. had been

       “compelled by force or imminent threat of force” in the rape allegation could

       include all of the elements required to demonstrate the battery allegation.


[25]   Thus, the State’s charging information fails to make clear that the factual bases

       for those two offenses were different. In such circumstances, our Supreme

       Court held in A.W. that the charging information is to be deemed ambiguous,

       and those ambiguities “must [be] construe[d] . . . in the defendant’s favor” and

       against the State as the author of the charges. 229 N.E.3d at 1069. Further,

       those ambiguities require us to conclude that the defendant has established “a

       presumptive double jeopardy violation” at this step in the analysis. Id. For its

       part, the State agrees that Ratliff has demonstrated a presumptive double-

       jeopardy violation.

[26]   With Ratliff having established a presumptive double-jeopardy violation, in step

       three of our analysis the burden is on the State to rebut that presumption. That

       is, the State must demonstrate that it made clear to the fact-finder at trial that

       the apparently included charge was supported by independent evidence such


       Court of Appeals of Indiana | Opinion 24A-CR-107 | August 26, 2024        Page 14 of 18
       that the State made a “distinction between what would otherwise be two of the

       ‘same’ offenses.” Id. at 1071. However, if the State’s reliance on the evidence at

       trial “show[s] only a single continuous crime, and one statutory offense is

       included in the other,” the State may not obtain cumulative convictions. Id.

       (quotation marks omitted).


[27]   Here, the State cannot demonstrate a distinction between the rape allegation

       and the battery allegation based on how the State asked the jury to apply the

       evidence. In its attempt to rebut the presumptive double jeopardy violation, the

       State asserts that “the act of sexual intercourse” was an act “separate and

       distinct from [Ratliff] . . . beating J.B. on the stairwell.” Appellee’s Br. at 27.

       But the State’s argument disregards the statutory requirement that the sexual

       intercourse here was “compelled by force or imminent threat of force.” See I.C.

       35-42-4-1(a)(1) (2020). And, as to that requirement, the prosecutor made clear

       to the jury that the means used by Ratliff to compel J.B. by force or imminent

       threat of force to engage in sexual intercourse was the same evidence that the

       prosecutor argued supported the battery allegation: Ratliff striking J.B. about

       the head and face on their way up the stairs after he had broken into her

       apartment.

[28]   As the means used to compel J.B. by force or imminent threat of force to

       submit to sexual intercourse with Ratliff included all the elements of the Class

       A misdemeanor battery allegation, and as the evidence relied on by the

       prosecutor shows only a single continuous crime of Level 3 felony rape,

       Ratliff’s convictions for both offenses is contrary to law.

       Court of Appeals of Indiana | Opinion 24A-CR-107 | August 26, 2024         Page 15 of 18
[29]   Where a defendant is found guilty of both the greater offense and an included

       offense, the proper procedure is to vacate the conviction for the included offense

       and to enter a judgment of conviction and sentence only upon the greater

       offense. See, e.g., Demby v. State, 203 N.E.3d 1035, 1046 (Ind. Ct. App 2021),

       trans. denied. We therefore reverse Ratliff’s conviction for Class A misdemeanor

       battery and remand to the trial court for it to vacate that conviction and his one-

       year concurrent sentence accordingly.


       3. Ratliff’s sentence is not inappropriate.
[30]   Last, Ratliff argues that his aggregate sentence of twenty-eight years with three

       years suspended to probation is inappropriate in light of the nature of the

       offenses and his character. 2 Under Indiana Appellate Rule 7(B), we may modify

       a sentence that we find is “inappropriate in light of the nature of the offense and

       the character of the offender.” Making this determination “turns on our sense of

       the culpability of the defendant, the severity of the crime, the damage done to

       others, and myriad other factors that come to light in a given case.” Cardwell v.

       State, 895 N.E.2d 1219, 1224 (Ind. 2008). Sentence modification under Rule

       7(B), however, is reserved for “a rare and exceptional case.” Livingston v. State,

       113 N.E.3d 611, 612 (Ind. 2018) (per curiam).




       2
        As Ratliff’s sentence on the Class A misdemeanor battery conviction was ordered to run concurrently with
       his sentence on the Level 3 felony rape conviction, our holding in part 2 of this opinion does not affect his
       aggregate sentence.

       Court of Appeals of Indiana | Opinion 24A-CR-107 | August 26, 2024                               Page 16 of 18
[31]   When conducting this review, we generally defer to the sentence imposed by

       the trial court. Conley v. State, 972 N.E.2d 864, 876 (Ind. 2012). Our role is to

       “leaven the outliers,” not to achieve what may be perceived as the “correct”

       result. Id. Thus, deference to the trial court’s sentence will prevail unless the

       defendant persuades us the sentence is inappropriate by producing compelling

       evidence portraying in a positive light the nature of the offense—such as

       showing restraint or a lack of brutality—and the defendant’s character—such as

       showing substantial virtuous traits or persistent examples of positive attributes.

       Stephenson v. State, 29 N.E.3d 111, 122 (Ind. 2015).


[32]   Ratliff appeals his convictions for two Level 3 felonies. A Level 3 felony carries

       a sentencing range of three to sixteen years, with an advisory term of nine

       years. I.C. § 35-50-2-5(b). The trial court ordered Ratliff to serve twelve years on

       his Level 3 felony burglary conviction and sixteen years on the Level 3 felony

       rape conviction, with three of those sixteen years suspended to probation. The

       court ordered those sentences to be served consecutively.

[33]   We cannot say that Ratliff’s aggregate sentence is inappropriate, and his

       arguments on appeal simply seek to have our Court substitute its judgment for

       the trial court’s, which we will not do. See Stephenson, 29 N.E.3d at 122. Ratliff

       presents no compelling evidence that portrays the offenses in a positive light or

       shows that his character has substantial virtuous traits or positive attributes. We

       therefore affirm his sentence. See id.




       Court of Appeals of Indiana | Opinion 24A-CR-107 | August 26, 2024         Page 17 of 18
       Conclusion
[34]   For all of these reasons, we affirm Ratliff’s convictions and sentences for Level

       3 felony burglary and Level 3 felony rape. However, we reverse his conviction

       for Class A misdemeanor battery, and we remand with instructions for the trial

       court to vacate that conviction and its sentence.


[35]   Affirmed in part, reversed in part, and remanded with instructions.


       Riley, J., and Felix, J., concur.


       ATTORNEY FOR APPELLANT
       James E. Harper
       Harper &amp; Harper, LLC
       Valparaiso, Indiana


       ATTORNEYS FOR APPELLEE
       Theodore E. Rokita
       Attorney General of Indiana
       Jodi Kathryn Stein
       Deputy Attorney General
       Indianapolis, Indiana




       Court of Appeals of Indiana | Opinion 24A-CR-107 | August 26, 2024      Page 18 of 18
